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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION

                           CIVIL ACTION CASE NO. 20-CV-60871-RKA

   ONYX ENTERPRISES INT’L, CORP., a New
   Jersey corporation,

          Plaintiff,

   v.

   SLOAN INTERNATIONAL HOLDINGS CORP,
   a Florida corporation, and JONATHAN SLOAN,
   individually,

          Defendants.
   ____________________________________________/


          AMENDED COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

         Plaintiff Onyx Enterprises Int’l, Corp. (“Plaintiff” or “Onyx”), by and through undersigned

  counsel, hereby sues Defendants Sloan International Holdings Corp (“Sloan International”) and

  Jonathan Sloan (“Sloan” or “Mr. Sloan”) (collectively “Defendants”) and alleges as follows:

                                          INTRODUCTION

         1.      This case involves Defendants’ intentional and blatant infringement and

  counterfeiting of Onyx’s likeness and well-known trademarks, including CARiD® and other iD

  marks (collectively, the “iD Marks”) used in connection with the sale of automotive parts and

  accessories.

         2.      Defendants have been selling automotive parts and accessories under the name

  RIMSiD on www.RIMSiD.com.            Defendants have been shamelessly and systematically

  incorporating and copying Onyx’s trademarks and likeness in order to hold itself out as an Onyx
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  brand, to mislead consumers into believing that RIMSiD is associated with Onyx’s iD brands, and

  to steal Onyx’s customers.

         3.      Defendants’ infringement of Onyx’s distinctive trademarks and its unauthorized

  use of its likeness encroach upon any acceptable notion of fair competition. Therefore, Onyx

  brings this action for damages and injunctive relief for trademark counterfeiting, trademark

  infringement, unfair competition, false designation of origin, dilution, and cybersquatting pursuant

  to the Lanham Act (15 U.S.C. § 1051, et seq.), and trademark infringement, unfair competition,

  and deceptive trade practices pursuant to the common law of the State of Florida and the Florida

  Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.204, et seq.

                                               PARTIES

         4.      Plaintiff Onyx is a corporation duly organized and existing under the laws of the

  State of New Jersey, with its principal place of business at 1 Corporate Drive, Suite C, Cranbury

  New Jersey 08512.

         5.      Upon information and belief, Defendant Sloan International is a Florida corporation

  with a principal place of business at 14359 Miramar Parkway, Suite 237, Miramar, FL 33055.

         6.      As of the filing of this Amended Complaint, although the principal place of

  business for Defendant Sloan International is a Florida address, the entity has been concealing its

  whereabouts and evading service since Plaintiff filed its first Complaint.

         7.      Upon information and belief, Defendant Sloan International operates and controls

  the website www.RIMSiD.com.




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           8.     Upon information and belief, Defendant Sloan is an individual resident of Florida

  State residing or maintaining a place of employment at 21493 NW 39th Ave., Miami Gardens, FL

  33055.

           9.     As of the filing of this Amended Complaint, although Defendant Sloan is a resident

  of Florida with a Florida address, he has been concealing his whereabouts and evading service

  since Plaintiff filed its first Complaint.

           10.    Upon information and belief, Defendant Sloan is the registered owner of the

  website www.RIMSiD.com.

           11.    Upon information and belief, Defendant Sloan is the owner and registered agent of

  Sloan International and has authorized or directed the counterfeit and infringing activities of his

  company Sloan International as alleged herein.

           12.    Despite designating 1493 NW 39th Ave., Miami Gardens, FL 33055 as Defendant

  Sloan International’s register agent’s address, no person would answer or accept service on

  Wednesday, May 6 and Tuesday, May 12 despite the requirements of Florida Statutes Section

  48.091. In particular, the May 6th attempt was made at 10:00 AM when the registered agent,

  Defendant Sloan is required to accept service per Section 48.091(2). (DE 14-1)

           13.    Plaintiff has attempted, at least, nine times to serve Defendant Sloan International

  and Defendant Sloan via personal service of process utilizing two different process server firms

  (DEs 14-1, 14-3, 14-7)

           14.    Both Defendants previously supplied the U.S. District Court of Colorado Case No.

  1:19-cv-2992-DDD-KLM in a prior-related action with another address, 21403 NW 39TH




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  Avenue, Miami Gardens, FL 33055 (DE 14). Both Defendants were personally served in that prior-

  related action at 21403 NW 39TH Avenue, Miami Gardens, FL 33055.

         15.    At 21403 NW 39TH Avenue, Miami Gardens, FL 33055 the Plaintiff’s process

  server located to motor vehicles, a Toyota and Lincoln, both registered to Defendant Sloan at

  21403 NW 39TH Avenue, Miami Gardens, FL 33055 (DE 14-3).

         16.    During two different attempts at personal service when both vehicles were parked

  in the driveway of 21403 NW 39TH Avenue, Miami Gardens, FL 33055 no person would answer

  the door (DE 14-1, 14-7). During attempts on June 13 and July 20, a person could be seen in the

  window of the home (Id.).

         17.    Contact cards of the process server were left at 21403 NW 39TH Avenue, Miami

  Gardens, FL 33055, but not person at the residence returned the call (DE 14-1).

         18.    On July 18, 2020 a certified U.S. Mail envelope containing the summons and initial

  complaint was delivered and signed for at 21403 NW 39TH Avenue, Miami Gardens, FL 33055:




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  (DE 14-6).

                                     JURISDICTION AND VENUE

          19.    This is an action for federal trademark infringement, trademark counterfeiting,

  unfair competition, false designation of origin, dilution, and cybersquatting pursuant to 15 U.S.C.

  15 U.S.C. §1051, et seq. Accordingly, this Court has subject matter jurisdiction under 15 U.S.C.

  § 1121 and 28 U.S.C. §§ 1331 and 1338.

          20.    This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

  Plaintiff’s state and common law claims because those claims are so related to the federal claims

  that they form part of the same case or controversy.

          21.    This Court has personal jurisdiction over Defendants because Defendant Sloan

  International is a Florida corporation with its corporate headquarters located in this Judicial

  District, and Defendant Sloan is a resident of Florida within the jurisdiction of this Judicial

  District.

          22.    Venue is proper within this District pursuant to 28 U.S.C. § 1391(b) and (c) and

  under 28 U.S.C. § 1400(b) because Defendants both reside within this Judicial District for the

  purpose of venue determinations.

                                      FACTUAL ALLEGATIONS

                CREATION, GROWTH, AND SCOPE OF ONYX’S iD® MARK.

          23.    As early as 2008, Onyx deployed its iD® Mark to brand its eCommerce platform

  designed to sell complex product portfolios. For more than a decade, Onyx has been singularly

  focused upon the creation of a unique, comprehensive, and reliable online customer experience for

  those seeking to purchase automotive products, both original equipment (“OE”) and aftermarket



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  parts. By reliably connecting consumers to millions of products from thousands of brands, Onyx

  drove consumer confidence in the purchase of automotive products online and established the iD®

  brand as the leader in online automotive product sales.

         24.     Onyx is a pure online retailer. When formed, the market for the online purchase of

  automotive parts was minimal.       In 2008, Onyx launched its first iD® branded platform,

  www.CARiD.com, and funded a consistent and persistent effort to compete with traditional trade

  channels for the sale of automotive products by creating demand for products online. The

  following screen shot is a capture from www.archive.org, known popularly at The Way Back

  Machine. It depicts the earliest ID eCommerce Platform for the sale of automotive products and

  accessories:




                    (Screenshot from The Way Back Machine, March 21, 2009)




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         25.     To compete with traditional automotive retailers and create consumer confidence

  for the online purchase of automotive products, Onyx invested hundreds of millions of dollars

  marketing and developing its brand, constructing a proprietary platform coupled with a

  comprehensive product catalog featuring millions of OE/AM products from thousands of brands.

  Onyx also integrated customer service and consumer education components to create a

  comprehensive online experience that customers enjoy and companies respect.

         26.     Through this effort, Onyx has grown the iD® brand into one of the largest online

  retailers of automotive products in the United States. At the time it was formed in 2008, online

  traffic for the sale of automotive products was virtually non-existent, as depicted below. Today,

  Onyx receives over 10 million visitors to its site each month, nearly three times its closest online

  direct competitor.

         27.     Figure 1 is a graphical representation from a SpyFu, Inc.1 demonstrating the number

  of monthly SEO clicks directed at the top pure online retailers from 2006 through the present. See

  Exhibit 5, Decl. of Aaron P. Bradford, Attachment 1. Using only www.CARiD.com, Onyx

  represents the top performer as represented by the top, red line below:




  1
    Figures 1–5 were derived from analysis tools available at www.spyfu.com,a third party with
  which Onyx has no relationship. Figures 1-5 were generated using various publicly available
  competitor information. Figures 1-5 are provided to demonstrate the relative market position of
  the selected domains over time. Figures 1-5 were not produced using data maintained by Onyx.

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                                             FIGURE 1

         28.     Figure 2 is a graphical representation of the number of monthly clicks directed at a

  comparison of the top online retailers, with Onyx as the top line, from 2015 through the present.

  See Exhibit 5, Bradford Decl., Attachment 2.




                                             FIGURE 2

         29.     After Onyx launched its iD® platform in 2008, traditional automotive product

  retailers such as AutoZone, Advanced Auto Parts, O’Reilly Auto/Pep Boys, and NAPA started to

  heavily invest in eCommerce. Specialty brick and mortar retailers, such as 4 Wheel Parts and

  others, also followed suit. Figure 3 is a graphical representation of the performance, expressed in


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  terms of monthly clicks, of the top six traditional retailers’ domains from 2006 through the present.

  See Exhibit 5, Bradford Decl., Attachment 3.




                                              FIGURE 3

         30.     Through its concerted campaign to drive its iD® Mark to the center of consumer

  purchasing for automotive parts and accessories, Onyx has outperformed all traditional retailers

  online other than AutoZone. See Exhibit 5, Bradford Decl., Attachment 4. Onyx is again

  represented by the red line, which is just below AutoZone:




                                              FIGURE 4




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          31.     Figure 4 is a graphical representation of the number of monthly clicks on the

   indicated domains from 2015 through the present.

          32.     To achieve these results, Onyx committed substantial resources to ensure that it

   would perform relative to its competition, both authorized VW dealerships, traditional retailers

   and the field of pure eCommerce retailers.

          33.     To maintain its position relative to eCommerce and traditional retailers, Onyx has

   similarly outspent the competition to drive traffic to its iD® Branded platforms. Onyx has spent

   nearly $200 million in marketing its brand.

          34.     As a result of its efforts, Onyx’s online presence exceeds the profiles of its top

   online competitors according to SpyFu’s Kombat feature:




                                                 FIGURE 5




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          35.     Like the end consumer, most automotive product manufacturers, both OE and

   aftermarket, associate the iD® brand with Onyx and its unique, comprehensive, and reliable

   eCommerce platform. Authorized dealerships regularly turn to Onyx’s platforms to source

   original parts as well as aftermarket parts. Onyx works with manufacturers and distributors of OE

   and aftermarket products to build educational tools and product pages to connect the right

   customer, with the right brand, for the right car. The Brands associate the iD® Mark with quality

   service and professional product placement.

          36.     The substantial brand power behind the iD® Mark that has been developed for over

   a decade is reflected in a consistent commercial impression: When consumers and/or Brands see

   the iD® Mark with its unique properties and design elements, they know to expect quality, service,

   and professionalism, deriving from a very specific and distinguishable source.

          37.     Leveraging its famous mark and the goodwill customers associate with the iD®

   brand, Onyx expanded its suite of eCommerce platforms into other complex market product

   portfolios.




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          38.    For example, Onyx developed and released its MOTORCYCLEiD® mark in July

   2018. Similar to CARiD®, MOTORCYCLEiD® conveys to customers that they can come to

   Onyx—and MOTORCYCLEiD®—to identify the unique parts and pieces that are suited for that

   customer’s particular motorcycle.

          39.    For example, Onyx developed and released its TRUCKiD® mark in July 2018.

   Similar to CARiD®, TRUCKiD® conveys to customers that they can come to Onyx—and

   TRUCKiD®—to identify the unique parts and pieces that are suited for that customer’s particular

   semi-truck or other oversized or commercial vehicle.

          40.    Onyx’s iD® Mark and the reputation it has developed in association with its iD®

   trademark and iD® brand have grown over time and as the quality of its products and services have

   become legend. To protect these rights and the good will they engender, Onyx has registered the

   following marks: BOATiD®, CAMPERiD®, MOTORCYCLEiD®, POWERSPORTSiD®,


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   RECREATIONiD®, STREETiD®, TOOLSiD®, and TRUCKiD®. Onyx has launched associated

   eCommerce platforms utilizing the same trade dress.




       www.BOATiD.com




       www.CARiD.com




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       www.CAMPERiD.com




       www.MOTORCYCLEiD.com




       www.POWERSPORTSiD.com




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       www.RECREATIONiD.com




       www.TOOLSiD.com




          41.     Onyx’s CARiD® branded services have received consistently high ratings.

          42.     Onyx has an “Elite” rating of 9.5/10 out of about 102,877 reviews on

   www.ResellerRatings.com. Based on the reviews submitted within the last six months, Onyx’s

   CARiD® branded services has an average customer service rating of 9.09/10 and a “chance of

   future purchase” rating of 8.99/10.

          43.     Onyx has an “A+” rating with the Better Business Bureau.

          44.     Onyx has a 4.7 out of 5 on Google Reviews based upon just under 10,000 reviews.




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          45.     Onyx’s CARiD® Facebook page currently has a 4.4/5 rating out of about 20,088

   reviews.

          46.     The CARiD® Instagram account currently has approximately 39,000 followers

   while the CARiD® Facebook account currently has over 2.5 million followers. The CARiD®

   YouTube Channel has over 69,100 subscribers and over 35.6 million views.

          47.     As a result of its efforts, including its extensive financial investment, Onyx has

   made a substantial amount of sales through its iD® brand in the United States and abroad. Sales

   of products sold through Onyx’s CARiD® and other iD® branded services have far exceeded those

   of the majority Onyx’s direct competitors in the United States and abroad.

                   ONYX’S INTELLECTUAL PROPERTY PROTECTIONS.

          48.     In addition to the strong consumer recognition, the iD® brand enjoys substantial

   state and federal trademark protections given its ubiquitous and consistent use since 2008. Onyx

   is the registered owner of the federal trademark registration for the stylized “iD” logo (Reg. No.

   5658672) for “Wholesale distributorships featuring automotive parts and accessories; retail store

   services featuring automotive parts and accessories; online retail store services featuring

   automotive parts and accessories.” See Exhibit 6.




          49.     Onyx owns the trademark registration for its newly-stylized iD® logo (Reg. No.

   5804750), shown below, for “Distributorship services featuring parts and accessories for land



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   vehicles and water vehicles; Distributorship services featuring goods for travel and outdoor

   recreational activities; Distributorship services featuring tools.”




          50.     This application received no opposition and was registered on the Principal Register

   on July 16, 2019. Onyx has been using this newly stylized iD® logo in some version in connection

   with its multiple retail platforms since at least 2013.

          51.     Onyx is further the registered owner of the federal trademark, wordmark, and

   registration for CARiD® (Reg. No. 3711746) for “Wholesale distributorships featuring automotive

   accessories; retail store services featuring automotive accessories; online retail store services

   featuring automotive accessories.” Onyx has been consistently using this trademark in connection

   with its eCommerce platform since at least 2008.

          52.     Registration No. 3711746 is “incontestable” under § 15 U.S.C. § 1065, and thereby

   is conclusive evidence of the validity of the registered mark and of Onyx’s ownership of the mark.

          53.     Onyx owns U.S. Trademark Registrations and pending U.S Trademark

   Applications for the following marks, copies of which are attached as Exhibit 6:

          MARK              Reg./Ser. No.                 Goods & Services
          CARID             Reg. No. 3711746      IC 035: Wholesale distributorships featuring
                                                  automotive accessories; retail store services
                                                  featuring automotive accessories; online retail
                                                  store services featuring automotive accessories.
                                                  (Date of First Use: at least as early as March 10,
                                                  2009)




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                     Reg. No. 5804750    IC 035: Distributorship services featuring parts
                                         and accessories for land vehicles and water
                                         vehicles; Distributorship services featuring goods
                                         for travel and outdoor recreational activities;
                                         Distributorship services featuring tools. (Date of
                                         First Use: at least as early as June 1, 2018)

                     Reg. No. 5658672    IC 035: Wholesale distributorships featuring
                                         automotive parts and accessories; retail store
                                         services featuring automotive parts and
                                         accessories; online retail store services featuring
                                         automotive parts and accessories. (Date of First
                                         Use: at least as early as September 1, 2013)

                     Ser. No. 87412406 IC 002: Sealer coatings for use in the sealing of
                                       vehicle parts and during vehicle repairs; coatings
                                       for industrial purposes, namely, paints, aerosol
                                       paints, rust treatment coatings, undercoats in the
                                       nature of industrial sealants for waterproofing and
                                       surface hardening, insulation coatings, and
                                       rubberized coatings in the nature of industrial
                                       sealants for waterproofing and surface hardening;
                                       anti-corrosive oils

                                         IC 003: Chemical cleaners directed to the vehicle
                                         industries; windshield washing fluid; vehicle and
                                         car wax preparations

                                         IC 004: Motor vehicle lubricants; Rust penetrant
                                         lubricants for vehicle exhaust systems, for hood
                                         release cables, for nuts and bolts, for shock
                                         absorbers, and other clips and cables of vehicles;
                                         penetrating oil; vehicle lubricants; vehicle
                                         lubricating greases; lubricating oils; automotive
                                         lubricants

                                         IC 007: Vehicle equipment, namely, engine
                                         mufflers, spark plugs, gaskets, and chucks for
                                         power-operated drills; metal engine gaskets for
                                         vehicles

                                         IC 009: Batteries for motor vehicles; battery
                                         maintenance equipment, namely, cables, lugs,
                                         connectors, terminals, hardware, protectors, cable


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                                         assemblies, bolts, and booster cables; battery
                                         chargers for motor vehicles

                                         IC 012: ATVs (all terrain vehicles); automobiles
                                         and structural parts therefor; brake discs for
                                         motorcycles; motor scooters and structural parts
                                         therefor; motorcycle drive chains ; motorcycle foot
                                         pegs; motorcycle sprockets; motorcycles and
                                         structural parts therefor; motorized bicycles;
                                         motorized dirt bikes for motocross and dune
                                         buggies; motorized vehicles, namely, go-carts;
                                         parts of motorcycles, namely, brake cables; parts
                                         of motorcycles, namely, brake calipers; parts of
                                         motorcycles, namely, brake levers; parts of
                                         motorcycles, namely, brake master cylinder
                                         assemblies; parts of motorcycles, namely, brake
                                         rotors; parts of motorcycles, namely, clutch cables;
                                         parts of motorcycles, namely, clutch master
                                         cylinder assemblies; parts of motorcycles, namely,
                                         handle bar grips; parts of motorcycles, namely,
                                         handle bar throttles; parts of motorcycles, namely,
                                         handle bar grips; parts of motorcycles, namely,
                                         handle bars; parts of motorcycles, namely, master
                                         cylinders; parts of motorcycles, namely, shift
                                         levers; parts of motorcycles, namely, brake master
                                         cylinder assemblies; parts of motorcycles, namely,
                                         clutch master cylinder assemblies; vehicle parts,
                                         namely, rearview mirrors; push scooters and
                                         structural parts therefor

                                         IC 025: Clothing, namely, t-shirts, sweatshirts,
                                         headwear and footwear

        BOATiD       Reg. No. 5888908    IC 035: Online retail store services featuring
                                         consumer products, electronics, parts and
                                         accessories for boats and water vehicles, boat
                                         safety, and boat maintenance; computerized online
                                         ordering featuring general merchandise and
                                         general consumer goods for boats and water
                                         vehicles, boat safety, and boat maintenance

       CAMPERiD      Reg No. 58889090 IC 035: Online retail store services in the field of
                                      outdoor consumer products, equipment, parts and
                                      accessories used with, or in association with,


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                                         recreation vehicles, campers, cooking, towing, and
                                         other outdoor recreational activities; Online retail
                                         store services in the field of general merchandise
                                         and general consumer goods used for outdoor
                                         recreational activities

    MOTORCYCLEiD     Reg. No. 5787890    IC 035: Online retail store services featuring
                                         consumer products, electronics, apparel, protective
                                         wear, parts and accessories for motorcycles, dirt
                                         bikes, motocross bikes, scooters, and three-wheel
                                         bikes; computerized online ordering featuring
                                         general merchandise and general consumer goods
                                         including those used with motorcycles, dirt bikes,
                                         motocross bikes, scooters, and three-wheel bikes
                                         (Date of First Use: at least as early as July 1, 2018)

    POWERSPORTSiD Reg. No. 5787889       IC 035: Online retail store services featuring
                                         consumer products, electronics, parts and
                                         accessories for powersports, namely, boating,
                                         snowmobiling, motorcycling, utility terrain
                                         vehicles, watercrafts, off-road vehicles, and all-
                                         terrain vehicles; computerized online ordering
                                         featuring general merchandise and general
                                         consumer goods including those used in support of
                                         powersports
                                         (Date of First Use: at least as early as July 1, 2018)

       RACINGiD      Ser. No. 88303678 IC 035: On-line retail store services featuring a
                                       wide variety of consumer goods of others; Online
                                       retail store services featuring consumer products,
                                       electronics, parts and accessories for land and
                                       water vehicles used for racing or high performance
                                       travel; Computerized online ordering featuring
                                       general consumer merchandise

     RECREATIONiD    Reg. No. 5888910    IC 035: Online retail store services in the field of
                                         consumer products, shoes, electronics, equipment,
                                         parts and accessories used with, or in association
                                         with, walking, camping, backpacking, hiking,
                                         tailgating, cooking, hunting, fishing, biking,
                                         towing, and other outdoor recreational activities;
                                         Online retail store services in the field of general
                                         merchandise and general consumer goods used for
                                         outdoor recreational activities


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         STREETiD             Reg. No. 5850420   IC 035: On-line retail store services featuring a
                                                 wide variety of consumer goods of others.

         TOOLSiD              Reg. No. 5888911   IC 035: Online retail store services featuring
                                                 consumer products, electronics, parts and
                                                 accessories associated with tools, namely, power
                                                 tools, hand tools, lawn and garden tools, air tools,
                                                 automotive tools, and construction tools; Online
                                                 retail store services in the field of general
                                                 merchandise and general consumer goods used for
                                                 or with tools

         TRUCKiD              Reg. No. 5787891   IC 035: Online retail store services in the field of
                                                 electronics, consumer products, parts and
                                                 accessories directed to, or used in association with,
                                                 trucks, semi-trucks, semi-tractor trailers, fifth
                                                 wheels, trailers and towing; computerized online
                                                 ordering featuring general merchandise and
                                                 general consumer goods for those in the field of
                                                 trucks, semi-trucks, semi-tractor trailers, fifth
                                                 wheels, trailers and towing
                                                 (Date of First Use: at least as early as July 1, 2018)



           54.        The various iD® brands of Onyx have become distinctive and well-known in the

   industry as a symbol of its goodwill with manufacturers, distributors, resellers, industry

   publications, and consumers of vehicle parts and accessories. The breadth and scope of Onyx’s

   offerings is extensive, and many of the parts comprising a vehicle could be purchased through the

   platform. As a result, its stylized iD® Mark has become famous and a strong indicator of source

   and affiliation.

           55.        Onyx also owns valid and subsisting common law rights in the marks depicted

   below, which Onyx has continuously used in interstate commerce for many years:




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          56.    Onyx has also enforced its intellectual property rights to ensure the integrity and

   strength of its iD® Brands. Apart from informal enforcement, Onyx has taken steps to protect the

   ID Brand in the following actions:

          a.     Onyx Enters. Int’l, Corp. v. Guangzhou Zezhong Elecs. Co., Ltd., No. 1:18-cv-

   03226 (D. Colo. filed Dec. 14, 2018).




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            b.    Onyx Enters. Int’l, Corp. v. Sloan Int’l Holdings Corp., No. 0:20-cv-60871-RKA

   (S.D. Fla. filed Apr. 29, 2020).

            c.    Onyx Enters. Int’l, Corp. v. ID Parts, Inc., No. 1:20-cv-11253 (D. Mass. filed

   June 30, 2020).

            d.    Onyx Enters. Int’l, Corp. v. ID Auto, LLC, No. 1:20-cv-05022 (S.D.N.Y. filed

   June 30, 2020).

            e.    Onyx Enters. Int’l, Corp. v. KhodroID, No. 2:20-cv-08179 (D. N.J. filed July 2,

   2020).

                         Defendants’ Acts of Counterfeiting and Infringement

            57.   On or around March 30, 2012, Defendant Sloan registered the domain for

   www.RIMSiD.com.

            58.   Soon thereafter, Defendant Sloan launched the RIMSiD website and began

   distributing and selling aftermarket automotive parts and accessories, including but not limited to

   tires, wheels, and wheel caps throughout the United States under the infringing RIMSiD mark.

            59.   On or around September 23, 2018, Defendant Sloan incorporated Sloan

   International. Defendant Sloan is the owner of Sloan International and has authority and control

   over the actions of Sloan International.

            60.   Upon information and belief, after its incorporation, Sloan International assumed

   operation and control of the RIMSiD website, social media accounts, and retail services provided

   under the RIMSiD mark.

            61.   Upon information and belief, Defendant Sloan is still the registered owner of the

   RIMSiD website.



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          62.     Upon information and belief, at all times relevant hereto, Defendants in this action

   had full knowledge of Onyx’s ownership of the iD Marks, including Onyx’s respective, exclusive

   rights to use and license such intellectual property and the goodwill associated therewith.

          63.     Defendant Sloan, individually and through Sloan International, has intentionally

   misappropriated Onyx’s trademarks, likeness, and goodwill through the unlawful use of Onyx’s

   iD Marks to distribute and sell automotive parts and accessories.

          64.     Defendants have and continue to distribute and sell identical and/or similar

   automotive parts and accessories as Onyx.

          65.     Defendants have and continue to market their retail services in the same channels

   of trade as Onyx and to the same types of consumers.

          66.     The RIMSiD website, social media accounts, and marks directly incorporate

   Onyx’s iD Marks and/or are confusingly similar variants of Onyx’s iD Marks, as depicted in the

   below side-by-side comparisons:

                  Onyx’s iD Marks                             Defendants’ RIMSiD Mark

                       CARID
             (Reg. No. 3711746 CARID)
                                                            (as used on www.RIMSiD.com on
                                                                       06/06/2019)

         (as depicted on www.CARiD.com)




                 (Reg. No. 5804750)




         (as depicted on www.CARiD.com)


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       (as depicted on www.BOATiD.com)




      (as depicted on www.CAMPERiD.com)




              (as depicted on
         www.MOTORCYCLEiD.com)




               (as depicted on
         www.POWERSPORTSiD.com)




    (as depicted on www.RECREATIONiD.com)




       (as depicted on www.TOOLSiD.com)




       (as depicted on www.TRUCKiD.com)




              (Reg. No. 5658672)
                                               (as currently used for the www.RIMSiD.com
                                                             website thumbnail)


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                                                          (as used on www.RIMSiD.com on
                                                                     06/06/2019)


    (as posted to the CARiD® Facebook Account)
                                                 (as depicted in the current RIMSiD Facebook
                                                            account profile picture)


    (as depicted on www.mkwwheels.com, listing
          CARiD® as an authorized dealer)        (as depicted in the current RIMSiD Facebook
                                                             account cover photo)


        (as depicted on www.CARiD.com)




                                                 (as depicted in the current RIMSiD Instagram
                                                            account profile picture)




                                                      (as depicted in the current RIMSiD Twitter
                                                                account profile picture)




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                                                      (as depicted in the current RIMSiD Youtube
                                                                 account profile picture)

          67.      True and correct copies of the website screenshots for Onyx’s current CARiD,

   BOATiD, CAMPERiD, MOTORCYCLEiD, POWERSPORTSiD, RECREATIONiD, TOOLSiD,

   and TRUCKiD websites depicting the above-referenced iD marks are attached as Exhibit E. A

   true and correct copy of the website screenshot for the CARiD® Facebook Account depicting the

   above-referenced CARiD® mark can be found in Exhibit C. A true and correct copy of the website

   screenshot for the MKW Wheels website, which lists CARiD® as an authorized dealer, is attached

   as Exhibit F.

          68.      A true and correct copy of the website screenshot for the RIMSiD website, as

   captured on June 6, 2019, is attached as Exhibit G. A true and correct copy of the website

   screenshot showing Defendants’ RIMSiD thumbnail as it appears on the current RIMSiD website

   is attached as Exhibit H.    True and correct copies of the website screenshots for the RIMSiD

   Facebook, Instagram, Twitter, and YouTube accounts are attached as Exhibit I.

          69.      Upon information and belief, Defendant Sloan initially created the RIMSiD website

   and name with the intention of creating consumer confusion and passing off the RIMSiD retail

   service as being associated with Onyx’s CARiD® brand.




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          70.     Not only are Defendants currently infringing upon the stylized iD Marks owned by

   Onyx, but Defendants have been purposefully and systematically copying Onyx’s iD Marks as

   well as the CARiD® brand’s likeness since as early as 2013, if not earlier.

          71.     Below is a side-by-side comparison, showing some examples of Defendants’

   systematic copying and imitation of Onyx’s iD Marks and likeness through the years:




        (as depicted on www.CARiD.com on
                     04/06/2009)
                                                           (as depicted on www. RIMSiD.com on
                                                                         05/7/2013)




        (as depicted in the 03/25/2013 CARiD
          Facebook account profile picture)




          (as depicted on www.CARiD.com                    (as depicted on www. RIMSiD.com on
                    on 06/02/2011)                                       05/7/2013)




          (as depicted on www.CARiD.com                    (as depicted on www. RIMSiD.com on
                    on 8/04/2014)                                        10/7/2014)




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        (as depicted on www.CARiD.com on
                     06/21/2014)




         (as depicted on www.CARiD.com                   (as depicted on www. RIMSiD.com on
                   on 06/29/2015)                                      10/17/2015)




                                                         (as depicted on www. RIMSiD.com on
                                                                       01/22/2019)
         (as depicted on www.CARiD.com
                   on 06/04/2018)

          72.    True and correct copies of the archived website versions for www.CARiD.com as

   retrieved from www.web.archive.org and are attached as Exhibit J. A true and correct copy of

   the website screenshot for the CARiD® Facebook account depicting the account profile photo on

   March 23, 2013 can be found in Exhibit C. True and correct copies of the archived website

   versions for www.RIMSiD.com as retrieved from www.web.archive.org and are attached as

   Exhibit K.

          73.    At all relevant times, Onyx began using its iD Marks, as depicted in Paragraph 51,

   prior to Defendants’ use of the RIMSiD marks depicted in Paragraph 51.




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          74.    Throughout the years, after Onyx would create and begin using a new CARiD® or

   iD design, Defendants would knowingly and deliberately change its RIMSiD marks to match

   and/or incorporate features from the new CARiD® or iD design.

          75.    Defendants’ RIMSiD marks mimic the same or substantially indistinguishable font,

   word arrangements, and stylistic elements as those appearing in Onyx’s iD Marks.

          76.    For example, the below RIMSiD mark utilizes the same font and style for “iD” such

   as depicted in Onyx’s iD mark, U.S. Reg. No. 5804750.




          77.    As another example, comparing the two marks below, the RIMSiD mark:

                 (a) utilizes the same font for “RIMSiD” as is used in “CARiD”;

                 (b) has the same “sheen” in the term “iD” that is used in “CARiD”;

                 (c) has an identical arrangement of words;

                 (d) has the same phonological and morphological structure, as the prefix of the

                     mark serves as the overall categorical goods to be sold, while the suffix “iD”

                     serves as the brand recognition;

                 (e) utilizes the same font for the phrase underneath the term “RIMSiD” as the

                     phrase underneath the “CARiD”;

                 (f) has a similar two-color theme; and

                 (g) has the last two words in the phrase underneath the term “RIMSiD” in the same

                     color as “iD”, similar to the CARiD mark.




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          78.      The marks depicted in Paragraph 57 are identical except Defendant’s RIMSiD mark

   utilizes the word “RIMS”, has different words in the phrase underneath it, and uses the color blue

   instead of green.

          79.      Defendants have also copied the look and feel of Onyx’s websites:




                   www.CARiD.com                                   www. RIMSiD.com
                (captured 06/05/2019)                             (captured 06/05/2019)


          80.      Defendants have acted purposefully and in bad faith to usurp the substantial

   goodwill that Onyx has developed under its iD Marks to confuse and deceive consumers into




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   believing that the RIMSiD website and services are in some way affiliated or connected to Onyx’s

   iD brands when they are not.

          81.     Defendants have made and will continue to make substantial profits and gains off

   of the goodwill and value Onyx has acquired through their iD Marks, to which the Defendants are

   not in law or equity entitled.

          82.     Onyx is not affiliated or connected with Defendant or its services, nor has Onyx

   endorsed or sponsored Defendants or their services.

          83.     Onyx has not in any way authorized Defendants’ use of Onyx’s iD Marks or

   likeness.

          84.     Onyx has no control over the nature and quality of the services or goods that

   Defendants provide through the RIMSiD website or marks.

          85.     Upon information and belief, Defendants do not provide services through the

   infringing and counterfeit RIMSiD website or marks that meet the high standard and quality that

   consumers have come to associate with Onyx’s iD brands. See Exhibit L, which is a true and

   correct copy of a negative consumer review of Defendants’ RIMSiD services.

          86.     Defendants’ use of the infringing and counterfeit RIMSiD website and marks, and

   their associated failure to meet the high standard and quality of the services associated with Onyx’s

   iD Marks, have and continue to cause harm to the goodwill symbolized by Onyx’s iD Marks and

   the reputation for quality and excellence that they embody.

          87.     On June 17, 2019, shortly after discovering Defendant’s use of the infringing and

   counterfeit RIMSiD website and marks, Onyx put Defendants on notice of Onyx’s rights in its iD

   Marks and requested that Defendants cease using the infringing and counterfeit RIMSiD website



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   and marks. Onyx sent a second notice to Defendants on July 8, 2019. Defendants acknowledged

   receipt of both notices via return reply on July 17, 2019.

          88.     Rather than cease using the infringing and counterfeit RIMSiD website and marks

   as requested, Defendants attempted to hide its infringing and counterfeit use of Onyx’s iD Marks

   by scrubbing the RIMSiD website of the blatantly copied logo designs.

          89.     After receiving the notice of infringement, Defendants changed the RIMSiD mark

   on the RIMSiD website to the below and denied ever using any copied logo designs.




          90.     Defendant’s use of this new RIMSiD mark design fails to mitigate the likelihood

   of confusion with Onyx’s iD Marks, especially considering Defendants’ long-standing and

   repeated imitation of Onyx’s iD Marks.

          91.     Furthermore, the current RIMSiD website still depicts the infringing and

   counterfeit thumbnail logo below. See Exhibit H.




          92.     The RIMSiD Facebook, Instagram, Twitter, and YouTube accounts also currently

   still depict the infringing and counterfeit logos as shown in Exhibit I.

          93.     Defendants continue to advertise, market, and sell competing automotive parts and

   accessories in the same industry and through the same channels of trade using its infringing and

   counterfeit RIMSiD website and marks.



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             94.    Defendants’ actions have diluted and severely injured Onyx’s iD Marks.

             95.    Absent injunctive relief, Onyx will continue to suffer irreparable harm in the loss

   of control of its reputation and goodwill in its iD Marks.

             96.    This and all other damage to Onyx’s reputation and goodwill in its iD Marks

   resulting from the conduct alleged in this action cannot be easily quantified nor could it be undone

   through an award of money damages alone.

                                        COUNT ONE
      Federal Trademark Counterfeiting and Infringement in Violation of 15. U.S.C. § 1114
                                (Against Both Defendants)

             97.    Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.

             98.    This cause of action arises under Section 32(1)(a) and (b) of the Lanham Act, 15

   U.S.C. § 1114.

             99.    Onyx is the owner of all right, title, and interest in, to and under its iD Marks, and

   all goodwill appurtenant thereto.

             100.   Defendants have, without Onyx’s consent, used counterfeit and colorable

   imitations of Onyx’s federally registered iD Marks in commerce on or in connection with the sale,

   offering for sale, distribution, and/or advertising of goods and/or services for the sale of

   automotive parts and accessories.

             101.   Defendants have, without Onyx’s consent, used spurious designations that are

   identical with and/or substantially indistinguishable from Onyx’s iD marks, as registered under

   U.S. Registration Nos. 5804750 and 5658672, on or in connection with distributorship and retail

   store services featuring automotive parts and accessories.



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          102.    Defendants have, without Onyx’s consent, used spurious designations that are

   colorable imitations of Onyx’s iD marks, as registered under U.S. Registration Nos. 3711746,

   5787890, 5787889, and 5787891, on or in connection with distributorship and retail store services

   featuring automotive parts and accessories.

          103.    The Defendants’ unauthorized use of the Onyx’s federally registered iD Marks is

   likely to cause confusion, mistake, or deception; cause the public to believe that Defendants’

   services are authorized, sponsored or approved by Onyx when they are not; and result in the

   Defendants unfairly and illegally benefitting from Onyx’s goodwill.

          104.    Defendants’ knowing, intentional, unlicensed, unconsented to, and otherwise

   unauthorized use of Onyx’s iD Marks and/or substantially indistinguishable variations thereof on

   and in connection with distributorship and retail store services constitutes counterfeiting and

   infringement of Onyx’s iD Marks in commerce, in violation of 15 U.S.C. § 1114.

          105.    The activities of Defendants complained of herein constitute willful and intentional

   counterfeiting and infringement of Onyx’s iD Marks in total disregard of Onyx’s proprietary rights

   and were done despite Defendants’ knowledge that use of these marks or any reproduction, copy,

   or colorable imitation thereof was and is in direct contravention of Onyx’s rights. Even though

   Defendants received notice of its infringement, Defendants intentionally and willfully continue

   their unauthorized use of the registered iD marks. Onyx is therefore entitled to statutory and treble

   damages.

          106.    Defendants’ unlawful actions have caused and are continuing to cause Onyx

   irreparable injury and monetary damages.




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             107.   As a direct and proximate result of Defendants’ conduct, Onyx has been and is

   likely to be substantially injured in its business, including its goodwill and reputation acquired

   under the iD Marks and brands, resulting in lost revenues and profits and diminished goodwill.

             108.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

             109.   Onyx is therefore entitled to recover actual and treble damages, attorney fees, costs

   pursuant to 15 U.S.C. § 1117 and injunctive relief pursuant to 15 U.S.C. § 1116.

                                       COUNT TWO
   Federal Trademark Infringement, Unfair Competition, and False Designation of Origin in
                             Violation of 15. U.S.C. § 1125(a)
                                (Against Both Defendants)

             110.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.

             111.   This cause of action arises under Section 43(a) of the Lanham Act, 15 U.S.C. §

   1125(a), et seq.

             112.   Onyx is the owner of all right, title, and interest in, to and under its iD Marks, and

   all goodwill appurtenant thereto.

             113.   Onyx’s iD Marks have been continuously and widely used by Onyx nationwide and

   abroad and on its website. Onyx intends to preserve and maintain its rights to the iD Marks and

   to continue the use of the iD Marks in connection with its distributorship and retail store services

   relating to the distribution and sale of automotive parts and accessories.

             114.   By virtue of the renown of the iD Marks, the iD Marks have developed secondary

   meaning and significance in the mind of the relevant public. Goods and services associated with




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   the iD Marks are immediately associated by the purchasing public with Onyx’s iD brands and its

   automotive parts and accessories-based e-commerce platforms.

          115.    Without Onyx’s consent, Defendants have and continue to use identical and/or

   confusingly similar imitations of Onyx’s iD Marks in interstate commerce in connection with the

   promotion, advertisement, and operation of identical distributorship and retail store services

   featuring automotive parts and accessories.

          116.    Defendants’ unauthorized use of Onyx’s iD marks and/or confusingly similar

   variations thereof, is causing and is likely to continue to cause confusion, or to cause mistake, or

   to deceive, consumers and the relevant public into falsely believing that Defendants are affiliated,

   connected, or associated with Onyx’s iD brands and the iD Marks.

          117.    The acts of Defendants as alleged herein and above constitute trademark

   infringement, unfair competition, false representation, and/or false designation of origin in

   violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

          118.    Defendants have engaged in this conduct knowingly, willfully, and in bad faith, in

   total disregard of Onyx’s proprietary rights.       Even though Defendants received notice of

   its infringement, Defendants intentionally and willfully continued their unauthorized use of

   Onyx’s iD marks. Onyx is therefore entitled to statutory and treble damages.

          119.    Defendants’ conduct has deprived Onyx of its rightful ability to control the quality

   of goods and services uniquely associated with Onyx’s iD Marks and to ensure that their

   associated, valuable goodwill, and reputation are protected. Defendants’ unlawful actions have

   caused and are continuing to cause Onyx irreparable injury and monetary damages.




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             120.   As a direct and proximate result of Defendants’ conduct, Onyx has been and is

   likely to be substantially injured in its business, including its goodwill and reputation acquired

   under the iD Marks and brands, resulting in lost revenues and profits and diminished goodwill.

             121.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

             122.   Onyx is therefore entitled to recover actual and treble damages, attorney fees, and

   costs pursuant to 15 U.S.C. § 1117 and injunctive relief pursuant to 15 U.S.C. § 1116.

                                          COUNT THREE
                    Federal Trademark Dilution in Violation of 15 U.S.C. § 1125(c)
                                    (Against Both Defendants)

             123.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.

             124.   Onyx’s iD marks are famous and were famous before Defendants’ first commercial

   use of their counterfeit and confusingly similar RIMSiD domain and RIMSiD marks, within the

   meaning of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125, based on extensive sales and

   advertising under Onyx’s iD Marks.

             125.   Defendants have willfully and intentionally used and continue to use the iD Marks

   or confusingly similar variations thereof in connection with the advertisement, promotion, and sale

   of Defendants’ goods and services under the RIMSiD domain and RIMSiD marks.

             126.   Defendants’ use of Onyx’s iD Marks and confusingly similar variations thereof,

   have diluted and are likely to dilute, the distinctive quality of the iD Marks, causing them to be

   blurred in the minds of consumers and to lose their commercial significance as a designation of

   source and origin. This is particularly disturbing as Defendants have poor reviews published



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   online, all of which dilute the goodwill and value in the Onyx brand as a result of the confusion,

   mistake, and deception.

             127.   Defendants’ use of Onyx’s iD Marks and confusingly similar variations thereof,

   has weakened, and is likely to weaken, the commercial magnetism of Onyx’s iD Marks and to

   diminish their ability to evoke their original associations.

             128.   By Defendants’ conduct, Defendants have diluted, and are diluting, the selling

   power of Onyx’s iD Marks by blurring their uniqueness and singularity, and by tarnishing them

   with negative associations, in violation of 15 U.S.C. § 1125(c).

             129.   Defendants have used and continue to use Onyx’s iD Marks and confusingly similar

   variations thereof, willfully and with the intent to dilute the iD Marks, and with the intent to trade

   on the reputation and goodwill of Onyx’s iD Marks.

             130.   As a direct and proximate result of Defendants’ conduct, Onyx has suffered

   irreparable harm.

             131.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

             132.   Onyx is therefore entitled to recover actual and treble damages, attorney fees, and

   costs pursuant to 15 U.S.C. § 1117 and injunctive relief pursuant to 15 U.S.C. § 1116.

                                            COUNT FOUR
                          Cybersquatting in Violation of 15. U.S.C. § 1125(d)
                                     (Against Both Defendants)

             133.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.




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             134.   The domain name RIMSiD.com is confusingly similar to Onyx’s registered

   CARiD® word mark, which was distinctive and/or famous at the time Defendant Sloan registered

   the RIMSiD.com domain name.

             135.   Defendant Sloan registered and used the RIMSiD.com domain name knowing it

   was confusingly similar to Onyx’s CARiD® word mark.

             136.   Defendant Sloan International, as authorized and directed by Defendant Sloan,

   continued to use the RIMSiD.com domain name knowing it was confusingly similar to Onyx’s

   CARiD® word mark.

             137.   Defendants have acted with bad-faith intent to profit from the CARiD® word mark

   and the goodwill associated with it by registering and using the domain name RIMSiD.com.

             138.   Defendants’ activities as alleged herein and above constitute cybersquatting in

   violation of § 43(d) of the Lanham Act, 15 U.S.C. § 1125(d).

             139.   Defendants’ unlawful actions have caused and are continuing to cause Onyx

   irreparable injury and damages.

             140.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

             141.   Onyx is therefore entitled to recover actual and treble damages, attorney fees, and

   costs pursuant to 15 U.S.C. § 1117 and injunctive relief pursuant to 15 U.S.C. § 1116.

                                          COUNT FIVE
                    Trademark Infringement in Violation of Florida Common Law
                                    (Against Both Defendants)

             142.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.



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          143.    Onyx is the owner of valid common law rights in the iD Marks which it has used

   continuously and in connection with Onyx’s goods and services prior to Defendants’ unauthorized

   use of their infringing RIMSiD marks.

          144.    Defendants’ conduct as set forth above constitute trademark infringement in

   violation of Florida common law.

          145.    Defendants are promoting and otherwise advertising its automotive retail store

   services under marks that are identical or confusingly similar variations of Onyx’s iD Marks.

          146.    Defendants’ use of their infringing RIMSiD marks is likely to cause, has caused,

   and will continue to cause confusion, mistake, or deception as to the sponsorship, affiliation, or

   source of Defendants’ goods and services in that consumers and others are likely to believe

   Defendants’ goods and services are legitimately connected with or approved by Onyx and/or its

   iD brands in violation of Florida common law.

          147.    Defendants have engaged in this conduct knowingly, willfully, and in bad faith.

          148.    Defendants’ unlawful actions have caused and are continuing to cause Onyx

   irreparable injury and monetary damages.

          149.    As a direct and proximate result of Defendants’ conduct, Onyx has been and is

   likely to be substantially injured in its business, including its goodwill and reputation acquired

   under the iD Marks and brands, resulting in lost revenues and profits and diminished goodwill, in

   an amount as yet not fully ascertained.

          150.    Further to discourage and punish the Defendants for their willful disregard of the

   law and Plaintiff’s rights, the Plaintiff seek an award of punitive damages not to exceed the




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   Constitutional maximum for circumstances such as this where profit was the motivator for the

   Defendants’ willful and wanton conduct.

             151.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

                                             COUNT SIX
                       Unfair Competition in Violation of Florida Common Law
                                    (Against Both Defendants)

             152.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.

             153.   Onyx’s iD marks have become well and favorably known throughout the United

   States, including the State of Florida.

             154.   Defendants’ conduct as set forth above constitute unfair competition, false

   representation, and/or false designation of origin, which are have and/or are likely to cause

   confusion, or to cause mistake, or to deceive as to affiliation, connection, or association with Onyx

   and/or its iD brands, or origin, sponsorship, or approval of the infringing and counterfeit RIMSiD

   services by Onyx and/or its iD brands in violation of Onyx’s rights at common law and under the

   law of the State of Florida.

             155.   Defendants’ conduct as set forth above constitutes unlawful “passing off” under

   Florida unfair competition common law.

             156.   Defendants have engaged in this conduct knowingly, willfully, and in bad faith.

             157.   Defendants’ intentional and willful actions have caused and are continuing to cause

   Onyx irreparable injury and monetary damages.




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             158.   Further to discourage and punish the Defendants for their willful disregard of the

   law and Plaintiff’s rights, the Plaintiff seek an award of punitive damages not to exceed the

   Constitutional maximum for circumstances such as this where profit was the motivator for the

   Defendants’ willful and wanton conduct.

             159.   As a direct and proximate result of Defendants’ conduct, Onyx has been and is

   likely to be substantially injured in its business, including its goodwill and reputation acquired

   under the iD Marks and brands, resulting in lost revenues and profits and diminished goodwill, in

   an amount as yet not fully ascertained.

             160.   Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

                                         COUNT SEVEN
   Deceptive Trade Practices in Violation of the Florida Deceptive and Unfair Trade Practices
                                               Act
                                   (Against Both Defendants)

             161.   Onyx incorporates the allegations in Paragraphs 1 through 76 as if fully set forth

   herein.

             162.   Defendants’ conduct as set forth above constitutes deceptive trade practices in

   violation of Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.204.

             163.   Defendants’ use of Onyx’s iD Marks and confusingly similar variations thereof,

   falsely suggests Onyx and/or its iD brands as the source of Defendants’ goods and services.

             164.   In the course of Defendants’ business, Defendants have and continue to make false

   representations as to the source, sponsorship, approval, or certification of goods and services

   provided by Defendants in order to deceive consumers into believing that Defendants’ goods and

   services are sponsored, approved, or certified by Onyx and/or its iD brands.


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          165.    In the course of Defendants’ business, Defendants have and continue to make false

   representations to deceive consumers into believing that Defendants and/or their goods and

   services are affiliated, connected, or associated with Onyx and/or its iD brands.

          166.    Defendants have engaged in this conduct knowingly, willfully, and in bad faith.

          167.    Defendants’ actions have caused and will likely continue to cause confusion among

   unsuspecting consumers familiar with the iD Marks and brands, which are used to identify Onyx’s

   goods and services, and thereby significantly impact the public as actual or potential consumers.

          168.    Defendants’ unlawful actions have caused and are continuing to cause Onyx

   irreparable injury and monetary damages.

          169.    As a direct and proximate result of Defendants’ conduct, Onyx has been and is

   likely to be substantially injured in its business, including its goodwill and reputation acquired

   under the iD Marks and brands, resulting in lost revenues and profits and diminished goodwill, in

   an amount as yet not fully ascertained.

          170.    Onyx has no adequate remedy at law and, if Defendants’ activities are not

   preliminarily and permanently enjoined, Onyx will continue to suffer irreparable harm and injury.

          171.    Onyx is therefore entitled to recover actual damages, attorney fees, and costs

   pursuant to Fla. Stat. §§ 501.2105, 501.211(2).

                                         PRAYER FOR RELIEF

          WHEREFORE, Onyx prays for judgment and relief against Defendants as follows:

          A.      For preliminary and permanent injunctive relief enjoining Defendants and any

   principals, agents, servants, employees, successors and assigns of Defendants and all those in

   privity, concert or participation with Defendants from:



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                  (i)     imitating, copying, duplicating or otherwise making any use of Onyx’s iD

          Marks or any mark confusingly similar to Onyx’s iD mark;

                  (ii)    using any unauthorized copy or colorable imitation of Onyx’s iD marks in

          such fashion as is likely to relate or connect Defendants with Onyx;

                  (iii)   using any false designation of origin or false description which can or is

          likely to lead the trade or public, or individual members thereof, to believe mistakenly that

          any service advertised, promoted, offered or sold by Defendants is sponsored, endorsed,

          connected with, approved or authorized by Onyx;

                  (iv)    causing likelihood of confusion or injury to Onyx’s business reputation and

          to the distinctiveness of the Onyx’s iD marks by unauthorized use of the iD marks or any

          mark confusingly similar to the iD marks;

                  (v)     engaging in any other activity constituting unfair competition or

          infringement of Onyx’s iD marks or Onyx’s rights in, or to use, or to exploit the same;

                  (vi)    assisting, aiding or abetting another person or business entity in engaging

                  (vii)   or performing any of the activities enumerated in subparagraphs (i) through

          (v) above.

          B.      Find that Defendants have infringed upon Onyx’s iD Marks in violation of federal

   and common law and damaged Onyx’s goodwill by Defendants’ conduct.

          C.      Find that Defendants have unfairly competed with Plaintiff by the acts complained

   of herein in violation of federal law and common law.

          D.      Find that the acts of Defendants constitute a violation of the Florida Deceptive and

   Unfair Trade Practices Act, Fla. Stat. § 501.204.



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           E.     For an order requiring the transfer of the infringing website, www.RIMSiD.com, to

   Onyx.

           F.     For an order requiring Defendants to remove any and all references to the iD Marks,

   including any company or account names, logos, photographs or videos, and/or any other posts or

   references, from the Internet and social media outlets, such as Facebook, Instagram, Twitter, and

   Youtube.

           G.     Find Defendants liable and award to Onyx monetary damages in an amount to be

   fixed by the Court in its discretion as just, including all of the Defendants’ profits or gains of any

   kind, resulting from Defendants’ willful infringement, counterfeiting, dilution, cybersquatting,

   and/or acts of unfair competition, said amount to be trebled and exemplary damages where

   applicable in view of the intentional nature of the acts complained of herein, pursuant to 15 U.S.C.

   § 1117, Fla. Stat. §§ 501.2105, 501.211(2), and the common law of the State of Florida;

           H.     Find Defendants actions were willful and wanton in disregard of the Plaintiff’s

   rights in order to maximize Defendants’ profits to Plaintiffs’ detriment and therefore award to

   punitive damages not to exceed the Constitutional maximum for circumstances such as this where

   profit was the motivator in order to discourage and punish this and other Defendants for willful

   disregard of the law and Plaintiff’s rights.

           I.     Award to Onyx statutory damages to the full extent permitted by law;

           J.     Award to Onyx its attorneys’ fees, due to the exceptional nature of this case, and

   all of Onyx’s costs and expenses of litigation pursuant to 15 U.S.C. § 1117(a) and Fla. Stat. §§

   501.2105, 501.211(2); and

           K.     Award to Onyx pre-judgment and post-judgment interest;



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          L.     Grant to Onyx such other and further relief as the Court may deem just, proper and

   equitable under the circumstances.

                                     DEMAND FOR TRIAL BY JURY

          Plaintiff Onyx Enterprises Int’l, Corp. demands a trial by jury on all issues so triable.


   Dated: August 5, 2020                                   Respectfully submitted,




                                                           ______________________________
                                                           Brandon J. Hechtman, Esquire (88652)
                                                           BHechtman@wickersmith.com
                                                           WICKER SMITH O’HARA
                                                             McCOY & FORD, P.A.
                                                           2800 Ponce de Leon Boulevard, Suite 800
                                                           Coral Gables, FL 33134
                                                           Telephone:    (305) 448-3939
                                                           Facsimile:    (305) 441-1745

                                                           Attorneys for Plaintiff Onyx Enterprises
                                                           Int’l, Corp.

                                                           Pro Hac Vice
                                                           /s/Aaron P. Bradford
                                                           Aaron P. Bradford, Esq.
                                                           Cindy N. Pham, Esq.
                                                           BRADFORD, LTD
                                                           2701 Lawrence Street, Suite 104
                                                           Denver, Colorado 80205
                                                           Telephone: (303) 325-5467
                                                           Facsimile: (844) 406-5294
                                                           Email: Aaron@apb-law.com
                                                           Email: Cindy@apb-law.com

                                                           Counsel for Plaintiff Onyx Enterprises Int’l,
                                                           Corp.


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                                   CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
   of Court using the CM/ECF system on August 5, 2020, and the foregoing document is being served
   this day on the parties on the Service List below via Certified U.S. Mail according to Fla. Stat. §
   48.161(a).




                                               ______________________________
                                               Brandon J. Hechtman, Esquire


                                           SERVICE LIST
   Sloan International Holdings Corp
   21403 NW 39TH Avenue
   Miami Gardens, FL 33055

   Jonathan Sloan
   21403 NW 39TH Avenue
   Miami Gardens, FL 33055




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